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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ALONZO CULLINS,                             )
                                            )
       Plaintiff,                           )        CIVIL ACTION FILE
                                            )        NO.
v.                                          )
                                            )
SWIFT TRANSPORTATION, CO.                   )
INC., M.S. CARRIERS, INC. and               )
JOHN DOE DRIVER,                            )
                                            )
       Defendants.                          )

                            NOTICE OF REMOVAL

      COME NOW defendant M.S. Carriers, Inc. and, pursuant to 28 U.S.C. §§

1332, 1441, and 1446, files this notice of removal within the time prescribed by law,

showing the Court as follows:

                                       1.

      On February 5, 2021, plaintiff filed a complaint in the Superior Court of

Fulton County, Georgia, Civil Action No. 2021CV345500, which county is within

the Atlanta Division of the Northern District of Georgia.

                                       2.

      This notice of removal is filed within the time period prescribed by 28 U.S.C.

§ 1446(b).
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                                        3.

      M.S. Carriers, Inc. has not been served and, thus, its time in which to file this

notice of removal has not elapsed. Swift Transportation Co., Inc. was purportedly

served in the State of Tennessee on April 14, 2021 and consents to the removal.

                                        4.

      A true and correct copy of all process, pleadings, and orders filed in

connection with this action is attached hereto as Exhibit A. Defendants have no

knowledge of any other process, pleadings, or orders filed or served in connection

with this action, other than those attached hereto.

                                        5.

      This Court has original jurisdiction over the above-referenced case under

28 U.S.C. § 1332.

                                        6.

      There is complete diversity among the parties.

                                        7.

      Plaintiff is a citizen of Georgia. (Compl. ¶ 1.)




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                                          8.

      M.S. Carriers, Inc. is a Tennessee corporation with its principal place of business

in Arizona. (See Compl. ¶ 3.) Accordingly, it is a citizen of Tennessee and Arizona

for purposes of diversity jurisdiction.

                                          9.

      Swift Transportation Co., Inc. is a Delaware corporation with its principal place

of business in Arizona. (See Compl. ¶ 2.) Accordingly, it is a citizen of Delaware and

Arizona for purposes of diversity jurisdiction. 28 U.S.C. § 1332(c)(1).

                                          10.

      Defendants make a plausible allegation that plaintiff is seeking recovery in an

amount in excess of $75,000, exclusive of interest and costs. Dart Cherokee Basin

Operating Co. v. Owens, 574 U.S. 81, 135 S. Ct. 547, 554 (2014). Specifically,

plaintiff is seeking general and special damages for serious personal injuries, property

damages, punitive damages of "no less than $250,000," and attorneys' fees and

expenses. (Compl. ¶¶ 17-18, 26-30 & prayer for relief.)

                                          11.

      The undersigned has read this Notice of Removal, and to the best of the

undersigned's knowledge, information, and belief, formed after reasonable inquiry, it

is well-grounded in fact, is warranted by existing law, and is not interposed for any


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improper purpose, such as to harass or to cause unnecessary delay or needless increase

in the cost of litigation.

       WHEREFORE, this notice of removal having been filed, said action shall

proceed in the United States District Court for the Northern District of Georgia,

Atlanta Division, and no further proceedings shall be held in said case in the Superior

Court of Fulton County, Georgia.

                                               STONE KALFUS LLP

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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 28, 2021, I filed the foregoing NOTICE OF

REMOVAL with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to counsel of record who are

CM/ECF participants and mailed by United States Postal Service, first-class, postage

prepaid, a paper copy of the same document to counsel of record who are non-

CM/ECF participants. Counsel of record is:

                                David E. Baum, Esq.
                                The Baum Law Firm
                                1570 Warsaw Road
                                Roswell, GA 30076

                                             /s/ Dustin S. Sharpes
                                             Dustin S. Sharpes
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